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                    AFFIDAVIT IN SUPPORT OF A CRiMINAL COMPLAINT

 I, Special Agent Steve Worthy, being first duly sworn, hereby depose and state as follows:

                                 Introduction and Agent Background

         Your affiant, Special Agent (SA) Steve Worthy Jr., is a Criminal Investigator with the
United States Department ofJustice, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF),
Clarksburg Field Office, and has been so employed since January 2016. Additionally, your affiant
holds a Bachelor of Arts degree from the University of South Carolina. Previous experience
includes five years as a Federal Air Marshal in the Atlanta Field Office and approximately six
years as a State Trooper with the South Carolina Highway Patrol. Your affiant has received over
1,000 hours of law enforcement training at the Federal Law Enforcement Training Center and the
ATF National Academy. Your afflant has received extensive training, both formal and on-the-job,
in the provisions ofthe Federal Firearms Laws administered under Title 18 and Title 26, U.S. Code
and Federal Narcotics Laws administered under Title 21, U.S. Code.

                        Probable Cause Supporting the Criminal Complaint
 1. The information contained in this affidavit is based upon the information I have gained from
    my investigation, my experience and my training, and/or information relayed to me by other
    law enforcement agents and/or their experience and training. Since this affidavit is being
    submitted for the limited purpose of securing a criminal complaint, I have not included each
    and every fact known to me concerning this investigation. I have set forth the facts that I believe
    are necessary to establish probable cause.

2. Your Afflant is currently investigating the following individual: Robert Michael JUNKINS.

3. On 30 November 2018, Officer Sayre with the Elkins City Police Department (EPD) conducted
   a traffic stop on a vehicle being operated by Robert Michael JUNKINS. As JUNKINS exited
   the vehicle, officers noticed drug paraphernalia on the driver’s side floorboard and suspected
   methamphetarnine in a vial around JUNKINS’ neck. During a search of the vehicle, officers
   located a Smith and Wesson, M&P 9C, 9mm caliber pistol, serial # HBK1248, underneath the
   driver’s seat where JUNKINS had been seated.

4. During a recorded interview of JUNKINS, conducted by Task Force Officers (TFO) with the
   Mountain Region Drug Task Force (MRDTF), JUNKINS claimed ownership of the firearm
   recovered by officers from inside the vehicle.

5. Your Affiant knows JUNKINS has a prior felony conviction in United States District Court in
   the Northern District of West Virginia for aiding and abetting in the distribution of cocaine
   base, Title 21 U.S.C. § 841(a)(1), 841(b)(l)(C) in May 2006. The criminal case number is
   1 :05CR099-001.

6. JUNKINS’ possession of a firearm on 30 November 2018 is a direct violation of Title 18
   U.S.C. § 922(g)(1) Possession of a firearm by a prohibited person (Felon).
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 7. The firearm has been found to affect interstate commerce by Bureau of Alcohol, Tobacco,
    Firearms, and Explosives (ATF) Special Agent (SA) and Interstate Nexus expert Matthew
    Kocher.




                                                Oath

 The information in this affidavit is true to the best of my knowledge and belief.




Special Agent,
Bureau of Alcohol, Tobacco, Firearms and Explosives



SwomtoandSubscribedbeforemeon                               2018.




viichael John Loi
United States Mistratejudge
Northern District of West Vfrinia

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